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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO

DISH NETWORK LLC, et als.,

     Plaintiffs,

                   v.                          Civil No. 17-2084 (FAB)

FRANCISCO LLINAS, et als.,

     Defendants.



                                MEMORANDUM AND ORDER

BESOSA, District Judge.

     Before     the     Court    is   plaintiffs   DISH   Network   LLC   (“DISH

Network”) and NagraStar LLC (“NagraStar”)’s motion to dismiss

defendants      Francisco         Llinas    (“Llinas”),      Jormarie     Rivera

(“Rivera”), doing business as FJ Internet Solution’s counterclaim

for abuse of process pursuant to Federal Rule of Civil Procedure

12(b)(6) (“Rule 12(b)(6)”).            (Docket No. 34.)    For the reasons set

forth below, the Court GRANTS DISH Network and NagraStar’s motion

to dismiss the defendants’ counterclaim.

I.   Background

     DISH     Network      and     NagraStar   commenced     this   action   on

August 15, 2017, filing suit against Llinas, Rivera and FJ Internet

Solution pursuant to the Digital Millennium Copyright Act, 17

U.S.C. section 1201(a)(2), the Federal Communications Act, 47

U.S.C.     section       605(a)       and   (e)(4),    and    the   Electronic
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Communications Privacy Act, 18 U.S.C. sections 2511(1)(a) and

2520.    (Docket No. 1.)        DISH Network is a satellite television

provider,    offering     access       to     movies,   sports     and    general

entertainment programing for a subscription fee.                   Id. at p. 2.

NagraStar provides DISH Network with smart cards and other security

technologies.    Id. at p. 3.

     This   action     stems    from   Llinas,     Rivera,   and     FJ   Internet

Solution’s purported importation and distribution of unauthorized

receivers and related devices.              Id. at p. 5.     DISH Network and

NagraStar aver that these devices function only to circumvent DISH

Network’s security technology.          Id.    By bypassing satellite signal

encryption and other security measures, Llinas, Rivera and FJ

Internet    Solution    allegedly      obtained    DISH    Network    programing

without authorization.         Id.

     Llinas and Rivera answered the complaint, and set forth a

counterclaim asserting a single cause of action.              (Docket No. 19.)

Llinas and Rivera allege that DISH Network and NagraStar abused

the legal process by possessing “an ulterior motive, lacking good

faith, [and] for filing this groundless action.”                 Id. at p. 17.

DISH Network and NagraStar moved to dismiss the abuse of process

counterclaim, arguing that Llinas and Rivera’s allegations are

deficient pursuant to pleading standard set forth in Federal Rule

of Civil Procedure 8.
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II.   Rule 12(b)(6) Motion to Dismiss Standard

      Pursuant to Rule 12(b)(6), defendants may move to dismiss an

action for failure to state a claim upon which relief can be

granted.       See Fed.R.Civ.P. 12(b)(6).       To survive a Rule 12(b)(6)

motion,    a    complaint   or   counterclaim    must   contain    sufficient

factual matter “to state a claim to relief that is plausible on

its face.”      Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

The Court must decide whether the complaint alleges sufficient

facts to “raise a right to relief above the speculative level.”

Id. at 555.      In doing so, the Court is “obligated to view the facts

of the complaint in the light most favorable to the plaintiffs,

and to resolve any ambiguities in their favor.”           Ocasio-Hernández

v. Fortuño-Burset, 640 F.3d 1, 17 (1st Cir. 2011).                A complaint

that adequately states a claim may still proceed even if “recovery

is very remote and unlikely.”         Ocasio-Hernández, 640 F.3d at 13

(internal quotation marks and citations omitted).
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III. Discussion

      Puerto Rico Law governs this Court’s analysis of the abuse of

process claim. 1     To prevail on an abuse of process claim, Llinas

and Rivera must establish two elements: that DISH Network and

NagraStar (1) possessed a bad motive, and (2) employed the legal

process for an improper, collateral objective.             González-Rucci v.

United States INS, 539 F.3d 66, 71 (1st Cir. 2008) (affirming

dismissal of abuse of process claim because “the record does not

show the requisite bad motive”).             Abuse of process generally

involves the misuse of discovery, subpoenas, attachment, and other

procedures.     Nogueras-Cartagena v. United States, 172 F. Supp. 2d

296, 316 (D.P.R. 2001) (Domínguez, J.) (“[M]alicious prosecution

is used to challenge the whole of a lawsuit while abuse of process

covers the allegedly improper use of legal procedures after a suit

has   been     filed    properly.”)      (internal     citation     omitted).

Ultimately, the proponent of an abuse of process action must prove



1 Subject matter jurisdiction exists in the underlying complaint because DISH
Network and NagraStar assert claims pursuant to the following federal statutes:
the Digital Millennium Copyright Act, the Federal Communications Act, and the
Electronic Communications Privacy Act. See 28 U.S.C. § 1331. Exercise of this
Court’s supplemental jurisdiction over the abuse of process claim, a cause of
action rooted in Puerto Rico law, is appropriate. The abuse of process claim
is “so related to claims in the action within such original jurisdiction that
they form part of the same case or controversy.”      28 U.S.C. § 1367(a); see
Ortiz-Bonilla v. Federación de Ajedrez de P.R., Inc., 734 F.3d 28, 35 (1st Cir.
2013) (“A federal court that exercises federal question jurisdiction over a
single claim may also assert supplemental jurisdiction over all state-law claims
that arise from the same nucleus of operative facts.”)      (internal quotation
marks omitted).
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ulterior motive and an abusive act.      See Boschette v. Bach, 916 F.

Supp. 91, 97 (D.P.R. 1996) (“An act of abuse cannot be inferred

from evidence of motive alone.”).

     Llinas and Rivera premise their abuse of process counterclaim

on DISH Network and NagraStar’s “filing [of] an action [. . .]

which they knew was meritless.”     (Docket No. 19 at p. 17.)         Filing

of the complaint is the only allegation tethering DISH Network and

NagraStar to the abuse of process cause of action.           Id.      Llinas

and Rivera claim that DISH Network and NagraStar lacked good faith,

and “acted willfully and intentionally.”        Id. at pp. 15-18.        The

remaining    allegations   are   conclusory   and   detail   the   alleged

damages arising from the counterclaim.

     The allegations in the counterclaim fail to state a claim for

abuse of process.     In Simon v. Navon, the First Circuit Court of

Appeals held that the “[f]iling of a lawsuit is a regular use of

process, and therefore, may not on its own fulfill the requirement

of an abusive act, even if the decision to sue was influenced by

a wrongful motive, purpose or intent.”        71 F.3d 9, 16 (1st Cir.

1995) (holding that “a showing of bad motive in connection with

‘regular’ process is not enough” to sustain an abuse of process

claim).     Llinas and Rivera fail to identify an abusive act, such

as an improper issuance of a subpoena or discovery request.             See

Redmond v. Yachting Solutions, LLC, No. 17-292, 2018 U.S. Dist.
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LEXIS 31470 *5 (D. Me. Feb. 27, 2018) (holding that because “the

abuse of process counterclaim is based on Plaintiff’s filing of

the present lawsuit[, for] this reason, Defendant’s [abuse of

process claim] is DISMISSED”). 2          Other than the filing a civil

action, Llinas and Rivera set forth no additional facts suggesting

that either DISH Network or NagraStar performed an abusive act.

Accordingly,        the   Court     dismisses    the       abuse    of   process

counterclaim. 3

IV.   Conclusion

      For   the   reasons   set   forth   above,     the    Court   GRANTS     DISH

Network’s     and     NagraStar’s     motion    to     dismiss      pursuant    to

Rule 12(b)(6).       (Docket No. 34.)     Consequently, the counterclaim

is DISMISSED with prejudice.




2 See, e.g., TeleRep Cribe, Inc. v. Zambrano, 266 F. Supp. 2d 284, 288 (D.P.R.
2003) (Arenas, J.) (dismissing abuse of process claim because “the act of filing
a complaint does not give rise to liability in this jurisdiction”); Beaulieu v.
Bank of Am., No. 14-023, 2014 U.S. Dist. LEXIS 136876 *16 (D. Me. Sept. 29,
2014) (dismissing abuse of process claim pursuant to Rule 12(b)(6) because
“continuing to prosecute the Forfeiture Action after determining that notice
had not been provided” did not constitute an abusive act); OfficeMax, Inc. v.
Sousa, 773 F. Supp. 2d 190, 241 (D. Me. 2011) (granting summary judgment as to
the abuse of process claim because “the filing of a lawsuit alone does not
provide a basis for an abuse of process claim”).

3 DISH Network and NagraStar also move for dismissal pursuant to the Noeer-
Pennington doctrine, first articulated by the United States Supreme Court in
Eastern R. Presidents Conference v. Noerr Moro Freight, Inc., 365 U.S. 127
(1961).   This doctrine “makes petitioning activity immune from antitrust
liability,” subject to a “sham” litigation exception. P.R. Tel Co. v San Juan
Cable LLC, 874 F.3d 767 (1st Cir. 2017) (citation omitted). Because Llinas and
Rivera fail to state a claim pursuant to Rule 12(b)(6), the Court need not
address the applicability of the Noerr Pennington doctrine.
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     Judgment shall be entered accordingly.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, April 20, 2018.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       UNITED STATES DISTRICT JUDGE
